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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
__________________________________________
 C.D., by and through her PARENTS and NEXT )
FRIENDS, M.D. and P.D. and M.D. and P.D. for )
themselves,                                   )
                      Plaintiffs,             )
                                              )
    v.                                        )     Civ. Action No. 15-13617-FDS
                                              )
NATICK PUBLIC SCHOOL DISTRICT,                )
and BUREAU OF SPECIAL EDUCATION               )
APPEALS,                                      )
                              Defendants.     )
__________________________________________)

              BUREAU OF SPECIAL EDUCATION APPEALS’
OPPOSITION TO PLAINTIFFS’ MEMORANDUM OF LAW IN FURTHER SUPPORT
          OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       The Bureau of Special Education Appeals’ (“BSEA”) hereby opposes the supplemental

memorandum of law filed by the Plaintiffs, C.D., by and through her parents and next friends,

M.D. and P.D., and M.D. and P.D. themselves, addressing the impact of the Supreme Court’s

decision in Endrew F. v. Douglas County Sch. Dist., 137 S. Ct. 988 (2017) to this case. Contrary

to the Plaintiffs’ arguments made in their Supplemental Memorandum, the substantive legal

standard announced in Endrew F. does not have an impact in this case. The legal standard

applied by the hearing officer in the decision under review here, that FAPE is provided when the

school district implements an IEP “that is ‘reasonably calculated’ to insure that the child receives

meaningful ‘educational benefits’ consistent with the child’s learning potential,” see

Administrative Record, at 1564, is in accordance with long-standing First Circuit precedent 1 and



1       This has been the articulation of the FAPE standard in the First Circuit for some time. See
D.B. v. Esposito, 675 F.3d 26, 34 (1st Cir. 2012); Sebastian M. v.King Philip Reg’s Sch. Dist.,
685 F.3d 79, 84 (1st Cir. 2012). Even as far back as 1984, in Town of Burlington v. Dept. of
                                                 1
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is consistent with Endrew F.

        In Endrew F., the Supreme Court rejected the 10th Circuit’s articulation of the FAPE

standard as “calculated to confer an ‘educational benefit [that is] merely . . . more than de

minimus,” 137 S. Ct. 997, and found that “[t]o meet its substantive obligations under the IDEA, a

school must offer an IEP reasonably calculated to enable a child to make progress appropriate in

light of the child’s circumstances.” Id. at 999. The standard articulated and applied by the

hearing officer here – requiring an IEP that is reasonably calculated to insure the child receives

meaningful educational benefits consistent with the child’s learning potential - is wholly

consistent with Endrew F. See also ECF Docket No. 62, Hearing Officer’s Remand Decision

(stating that the application of the Endrew F. standard would not have changed the outcome in

this case).

        Nowhere in Endrew F. did the Supreme Court “reject all Circuit Court standards that

focus on meeting the level of benefit required.” See Plaintiffs’ Mem. at 2 (emphasis added). The

Supreme Court only rejected standards that required a de minimus educational benefit. See 137

S. Ct. 999 (“The IEP must aim to enable the child to make progress … [because] [a] substantive

standard not focused on student progress would do little to remedy the pervasive and tragic

academic stagnation that prompted Congress to act.”). Neither does Endrew F. discuss or

announce a standard focused “on the level of instruction” required. See Plaintiffs’ Mem. at 2. In

this regard, all that Endrew F. states is that “the instruction offered must be ‘specially designed’



Educ. for Comm. of Mass., 736 F.2d 773 (1984), the First Circuit recognized that, while Board of
Educ. of the Hendrick Hudson Central Valley v. Rowley, 458 U.S. 176 (1982) provided for a
federal FAPE floor of “reasonably calculated to enable the child to receive educational benefits,”
Massachusetts law required more and those state standards should be incorporated into the
federal court’s analysis in IDEA cases. See 736 F.2d at 788-90.
                                                2
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to meet a child’s ‘unique needs’ through an ‘[i]ndividualized education program.” 137 S. Ct. at

999, quoting 20 U.S.C. §§ 1401(29), (14) (emphasis in opinion). In the case of a child in a

regular classroom, progress could be “achiev[ing] passing marks and advancing from grade to

grade,” id., but if the child is not in the regular classroom, “the goals may differ, but every child

should have the chance to meet challenging objectives.” Id. at 1000. That Plaintiffs disagree as

to whether the IEPs proposed by Natick from 2012-2015 were designed to result in providing

Student “the chance to meet challenging objectives” does not demonstrate that the hearing

officer applied an incorrect standard.

       The hearing officer’s decision appropriately focused on whether the IEPs were

reasonably calculated to provide Student with meaningful educational benefits in light of her

circumstances. R. 1551-71. The decision took into account whether the IEPs would allow

Student “the chance to meet challenging objectives” such as taking the MCAS and obtain a high

school diploma. For instance, the hearing officer found the 2012-2013 IEP appropriate because

it provided Student the opportunity to independently access academic services in a program

specifically designed for students with similar profiles without the need for a one to one aide. R.

1565-66. 2 Contrary to the Plaintiffs’ contention at the administrative hearing and in their

Memorandum, see Plaintiffs’ Mem. at 3 n.3 (continuing to assert that placing Student in the

Access program would have precluded her from preparing and taking the MCAS and obtaining a

high school diploma), the hearing officer specifically found that whether Student would be able




2      The hearing officer found that Natick properly formulated this IEP based on all of the
information it had available at the time including the results of recent testing as well as a
previous BSEA decision which had upheld the appropriateness of the Access program for
Student. R. 1565-66.
                                                 3
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to take and pass the MCAS if placed in the Access program “was an assumption made by the

Parents and their evaluators that was not supported by the evidence before me.” R. at 1566. The

2013-2014 IEP was appropriate for similar reasons. Id. The 2014-2015 IEP was also

appropriate because there was credible testimony that students within the Access Program often

take the regular MCAS exam and that students are routinely moved from Access classes to

replacement classes where they can receive instruction geared toward passing the MCAS. R.

1568. Accordingly, the hearing officer’s application of the First Circuit legal standard is

consistent with Endrew F. in that she considered whether Student would be able to “make

progress appropriate in light of [Student’s] circumstances” with attention to whether Student

would have the “chance to meet challenging objectives” such as taking the MCAS and obtain a

high school diploma.

       The remaining arguments in Plaintiffs’ memorandum concern alleged IDEA procedural

violations which are not impacted by the substantive standard in Endrew F. These arguments

were addressed in the parties’ motions for summary judgment.




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                                   Respectfully submitted,

                                   BUREAU OF SPECIAL EDUCATION APPEALS,

                                   By its attorney,

                                   MAURA HEALEY
                                   ATTORNEY GENERAL

                                    /s/ Iraida J. Álvarez
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Dated: May 30, 2017




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                               CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(“NEF),” and paper copies will be sent to those indicated as non-registered participants on May
30, 2017.

                                                           /s/ Iraida J. Álvarez_____________
                                                           Iraida J. Álvarez




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